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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NATHSON E. FIELDS,                                 )
                                                   )
                         Plaintiffs,               )
                                                   )
               v.                                  )   Case No. 10 C 1168
                                                   )
CITY OF CHICAGO, et al.,                           )   Judge Matthew F. Kennelly
                                                   )
                         Defendants.               )   Magistrate Judge Geraldine Soat Brown

      UNOPPOSED MOTION FOR EXTENSION TO RESPOND TO PLAINTIFF’S
                 SUPPLEMENT TO HIS RULE 60 MOTION

       Defendants, City of Chicago, David O’Callaghan, Joseph Murphy, and Daniel Brannigan,

by their attorney, Terrence M. Burns of Dykema Gossett PLLC, move for a two-day extension of

time to file their response to plaintiff’s supplement to his Rule 60 motion. In support thereof, the

City Defendants state:

       1.      On September 24, 2014, this Court ordered plaintiff to file a supplement to his

Rule 60 motion by October 8, 2014 and Defendants to respond by October 15, 2014, and set the

matter for hearing on October 22, 2014.         On October 8, 2014, plaintiff timely filed his

supplement.

       2.      The City Defendants’ attorneys are diligently working on their response but have

been unable to complete it by today’s date, October 15, and respectfully request a two-day

extension of time until Friday, October 17, 2014 to file their response. In addition to working on

their response, two of the City Defendants’ attorneys (Terry Burns and Dan Noland) have had to

travel to out of state depositions in the past week, which has contributed to their inability to

complete the response. The City Defendants are also working on their reply brief in support of

their motion for judgment as a matter of law in this case, which is due on October 17, 2014.
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       3.      No prejudice will be suffered by any party as a result of this requested extension.

       4.      Undersigned counsel, Daniel Noland, reached out for plaintiff’s counsel to inquire

whether there was any opposition to this request. Plaintiff’s counsel Candace Gorman indicated

there is no objection to the requested extension.

       WHEREFORE, the City Defendants request an extension of 2 days, to October 17, 2014,

to file their response to plaintiff’s Rule 60 Supplement.

                                                        Respectfully submitted,


                                                        s/ Daniel M. Noland
                                                        One of the Attorneys for City Defendants

Terrence M. Burns
Paul A. Michalik
Daniel M. Noland
Dykema Gossett PLLC
10 South Wacker Drive
Suite 2300
Chicago, Illinois 60606
(312) 876-1700




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2014, I electronically filed the foregoing Unopposed

Motion for Extension of Time with the Clerk of the Court using the ECF system, which sent

electronic notification of the filing on the same day to:

H. Candace Gorman
Adrian J. Bleifuss Prados
Law Office of H. Candace Gorman
220 S. Halsted
Suite 200
Chicago, IL 60661
312.427.2313
hcgorman1@gmail.com
ableifuss@gmail.com




                                                    s/ Daniel M. Noland
